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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JACQUELINE STEVENS,                             )
                                                 )
                               Plaintiff,        )
                                                 )
                       v.                        )
                                                 )
 U.S. IMMIGRATION AND CUSTOMS                    )
 ENFORCEMENT, U.S. CUSTOMS AND                   )    No. 21 C 2232
 BORDER PROTECTION, U.S.                         )
 CITIZENSHIP AND IMMIGRATION                     )    Judge Tharp
 SERVICES, EXECUTIVE OFFICE OF                   )
 IMMIGRATION REVIEW, U.S. NAVY,                  )
 U.S. DEPARTMENT OF AGRICULTURE,                 )
 U.S. DEPARTMENT OF STATE, and U.S.              )
 DEPARTMENT OF JUSTICE,                          )
                                                 )
                               Defendants.       )

                             JOINT INITIAL STATUS REPORT

1.     The Nature of the Case

       A.      Plaintiff Jacqueline Stevens is represented by Nicolette Glazer of the Law Office

of Larry R. Glazer. Defendants are represented by John R. Lausch, Jr., United States Attorney for

the Northern District of Illinois. The Assistant U.S. Attorney handling the case is Alex Hartzler.

       B.      This is a Freedom of Information Act case in which Stevens challenges the

adequacy of defendants’ responses to several of her FOIA requests.

       C.      The major legal issues will be whether defendants conducted an adequate search in

response to Stevens’s FOIA requests, and whether any withheld records were properly withheld

on the basis of one or more FOIA exemptions.
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          D.     Stevens seeks an order directing defendants to produce certain records and

declaring that the requested records are not exempt from disclosure. Stevens also seeks attorney

fees.

2.        Jurisdiction

          A.     Federal jurisdiction exists under 28 U.S.C. § 1331 and 5 U.S.C. § 552(a)(4)(B).

          B.     Jurisdiction is not based on diversity or supplemental jurisdiction.

3.        Status of Service

          Defendants’ position: Defendants U.S. Immigration and Customs Enforcement, U.S.

Customs and Border Protection, and Executive Office of Immigration Review (a component of the

U.S. Department of Justice) have been served. Defendants U.S. Citizenship and Immigration

Services, U.S. Navy, U.S. Department of Agriculture, and U.S. Department of State have not been

served.

          Plaintiff’s position: Defendant U.S. Citizenship and Immigration Services was served on

7 May 2021 at approximately 12:01 P.M by delivery of the summons and complaint to K Lusby,

an individual designated by Defendant to accept service of process. On 6 July 2021 the Clerk of

Court issued alias summons for Defendants U.S. Navy, USDA, and U.S. Department of State,

respectively. Service of process on these defendants is in progress. Copies of the corrected

complaint and alias summons were also served my mail on 6 July 2021 to US Attorney’s Office,

Chicago office, and the U.S. Attorney General. Once service is effected Plaintiff’s counsel will

file a affidavit of service.

4.        Consent to Proceed Before a United States Magistrate Judge

          The parties do not unanimously consent to proceed before a magistrate judge.




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5.     Motions

       A.     No motions are pending.

       B.     Defendants have answered the complaint. Dkt. 9.

6.     Status of Settlement Discussions

       Since this is a FOIA case, the parties do not request a settlement conference.

7.     Proposed Case Management Schedule

       The parties propose that they file a joint status report in 60 days updating the court on the

status of defendants’ processing of Stevens’s FOIA requests.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Alex Hartzler
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